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Case F:09-Cv-03829-RGK-AJW Document 1. Filed 05/29/09

1 || Damiel K. Calisher (State Bar No. 181821)
calisher@fostergraham.com

2 | Christopher P. Carrington (To Be Filed)
ccarrington@fostergraham.com

 

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3 | Julia R. Harvey (To Be Filed) CERTRA CALIH
jharvey@fostergraham.com “Y =
4 | FOSTER GRAHAM MILSTEIN & CALISHER LLP RY

621 Seventeenth Street, 19" Floor
5 || Denver, Colorado 80293

- Telephone: (303) 333-9810
Facsimile: (303) 333-9786

6

7 || Michael A. Rollin (State Bar No. 251557)
mrollin@rplaw.com

8 | REILLY POZNER LLP
10833 Wilshire Boulevard, Unit 604

9 | Los Angeles, California 90024
Telephone: (310) 425-0922

0 | Facsimile: (303) 893-6110

11 | Attorneys for Plaintiff
LEHMAN BROTHERS HOLDINGS, INC.

  

 

 

 

 

12
UNITED STATES DISTRICT COURT
13 CENTRAL DISTRICT OF CALIFORNIA
14 | LEHMAN BROTHERS HOLDINGS, INC. CASE NO. L V VU
15 Plaintiff,
VS.
16
PMC BANCORP, f/k/a PROFESSIONAL COMPLAINT

17 | MORTGAGE CORP.
1) BREACH OF CONTRACT

 

 

 

18 Defendant. 2) BREACH OF EXPRESS WARRANTY
3) BREACH OF CONTRACT —
19 INDEMNIFICATION AGREEMENT
20 4) BREACH OF CONTRACT - SPECIFIC
PERFORMANCE
2]
22
Plaintiff Lehman Brothers Holdings, Inc. (LBHI”), by and through its undersigned
23
04 counsel, and for its claims for relief and/or causes of action against defendant PMC Bancorp f/k/a
25 | Professional Mortgage Corp. (“PMC”), hereby and states and alleges as follows:
26 NATURE OF ACTION
27 1. Lehman Brothers Bank, FSB (“LBB,” and collectively with LBHI, “Lehman”)
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COMPLAINT

 
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purchased a number of residential mortgage loans from PMC pursuant to one or more written
contracts. LBB subsequently assigned its rights under those contracts to LBHI. With respect to
certain mortgage loans, PMC breached one or more of its agreements, representations, warranties
and/or covenants set forth in the contract(s). By this action, LBHI seeks specific performance of
the contract(s) via repurchase of the subject loans or, alternatively, seeks to recover losses

resulting from PMC’s breach of contract and/or warranty, or otherwise arising from or relating to

the subject mortgage loans.

PARTIES
2. LBHI is a Delaware corporation with its principal place of business in New York.
3. Upon information and belief, PMC is a California corporation, with a principal

place of business in City of Industry, California.
JURISDICTION AND VENUE
4. This Court has jurisdiction pursuant to 28 U.S.C. § 1332 because there is complete

diversity of citizenship between LBHI and PMC, and the amount in controversy exceeds $75,000,

exclusive of interests and costs.

5. Venue is proper in this District pursuant to 28 U.S.C. § 1391 because PMC resides

in City of Industry, California.

 

FACTUAL ALLEGATIONS
6. At all times relevant hereto, Lehman engaged in the purchase and sale of mortgage
loans.
7. At all times relevant hereto, PMC engaged in mortgage lending, as well as the sale

of mortgage loans on the secondary mortgage market to investors such as Lehman.

8. On or about March 25, 2004, PMC entered into a written Loan Purchase

Agreement with LBB (“Agreement”).

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9. The Agreement specifically incorporated the terms and conditions of the Seller’s
Guide (“Seller’s Guide”) of Aurora Loan Services LLC (“Aurora”), LBB’s wholly-owned
subsidiary, which sets forth additional duties and obligations of PMC.

10. The Agreement and Seller’s Guide constitute a valid and enforceable contract that

is binding upon PMC.

 

 

 

 

 

 

Il. The Agreement and Seller’s Guide set forth the duties and obligations of the
parties with respect to the purchase and sale of the subject mortgage loans, including but not
limited to the following: (a) purchase price; (b) delivery of the loans and attendant
documentation; (c) examination of loan files; (d) underwriting; (e) representations and warranties

concerning the individual loans; and (f) remedies for breach.

 

 

 

 

12. PMC sold a number of mortgage loans to LBB under the Agreement and Seller’s

i
Guide, including the certain mortgage loans as set forth on ixhibit A hereto, which is
incorporated by this reference as though fully set forth herein.

13. Subsequent to such sales, LBB assigned all of its rights and remedies under the

Agreement and Seller’s Guide with respect to the subject mortgage loans to LBHI.

 

 

 

14. On August 15, 2007, PMC entered into an Indemnification Agreement
(“Indemnification Agreement”) regarding Loan Nos. E*EBASA and ****0 794,

15. In the Indemnification Agreement, PMC confessed liability regarding Loan Nos.
***8454 and ****0794, formally surrendered the exclusive right to liquidate the property
securing the loan, and agreed to pay certain damages.

Breach Of Representations, Warranties And/Or Covenants

16. With respect to each of the subject mortgage loans, PMC made a number of

representations, warranties, and/or covenants concerning the loans, including but not limited to:

(a) the validity of all mortgage loan documentation; (b) the accuracy of all information regarding

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borrower identity, income, employment, credit, debt, assets, and liabilities used in making the
decision to originate the mortgage loans; (c) occupancy by the borrower of the property securing
the mortgage loans; (d) the ownership, nature, condition, and value of the real property securing
the mortgage loans; (e) the absence of early payment defaults; (f) the absence of straw purchaser
transactions; (g) conformance of the mortgage loans with applicable underwriting guidelines and
loan program requirements; and (h) its obligation to repurchase the loan in the event of a breach
of any representation, warranty, and/or covenant, including an early payment default(s).

17. PMC also represented and/or warranted that no error, Omission, misrepresentation,
negligence, fraud, or similar occurrence took place with respect to the mortgage loans by any
person involved in the origination of the mortgage loans, and that no predatory or deceptive
lending practices were used in the origination of the morigage loans.

18. PMC further represented and/or warranted that it had the ability to perform its
obligations, and satisfy all requirements of, the Agreement and Seller’s Guide.

19. Lehman ultimately discovered one or more material defects in the subject loans,
and further discovered that PMC had breached one or more of its representations, warranties
and/or covenants under the Agreement and/or Seller’s Guide. |

20. Lehman provided PMC with written notice of PMC’s breach of the representations

and/or warranties with respect to the subject loans.

21. PMC has refused or otherwise failed to comply with its obligations under the

Agreement and Seller’s Guide regarding the subject loans.

Early Payment Defaults

22. The Agreement and Seller’s Guide further specify that LBHI may demand that

PMC repurchase, and that PMC shall repurchase, mortgage loans that become Early Payment

Defaults.

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23. A loan becomes an Early Payment Default under the Agreement and Seller’s
Guide in one of two ways. For loans prior-approved by the purchaser, the loan becomes an Early
Payment Default if the borrower fails to make the first monthly payment due within 30 days of
the payment’s due date. For loans purchased pursuant to the seller’s delegated underwriting
authority, eligible for delegated underwriting or purchased in bulk transactions, the loan becomes
an Early Payment Default if the borrower fails to make the first or second monthly payment due
within 30 days of each such monthly payment’s respective due date.

24, PMC received delegated underwriting authority before it sold the subject loans.

25. Certain loans that LBB purchased from PMC became Early Payment Defaults.
Specifically, with respect to loans as set forth on Exhibit A hereto, the borrower failed to make
the first and/or second payment within 30 days of the due dates for those payments.

26.  LBHI provided PMC with written notice concerming the carly Payment Defaults
and demanded that PMC repurchase those mortgage loans.

27. PMC has refused or otherwise failed to repurchase the mortgage loans or
otherwise comply with its obligations under the Agreement and Seller’s Guide with respect to the
subject Early Payment Default loans.

28.  LBHI, as well as its predecessors and agents, have substantially performed all of
their respective obligations under the Agreement and Seller’s Guide.

FIRST CLAIM FOR RELIEF
(Breach of Contract)
29. LBHI incorporates the foregoing allegations as though fully set forth herein.
30. As set forth herein, PMC has breached the Agreement and Seller’s Guide by: (a)

breaching one or more of its agreements, representations, warranties, and/or covenants; (b)

refusing or otherwise failing to repurchase the subject mortgage loans; and/or (c) refusing to pay

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LBHI for losses suffered arising from or relating to the subject mortgage loans.

31. PMC’s breaches of the Agreement and Seller’s Guide have resulted in actual and
consequential damages in an amount to be proven at trial.

SECOND CLAIM FOR RELIEF
(Breach of Express Warranty)

32. LBHI incorporates the foregoing allegations as though fully set forth herein.

33. PMC made a number of express warranties with respect to material facts
concerning the loans, including but not limited to the warranties described above.

34. The warranties contained in the Agreement and Seller’s Guide were an essential

part of the bargain between LBB and PMC.

34. PMC breached the warranties for the loans as set forth on Exhibit A hereto.
35.  LBHI provided PMC with written notice concerning PMC’s breaches of the

express warranties.

36. | PMC has refused or otherwise failed to remedy or compensate LBHI for PMC’s
breaches of one or more express warranties.

37. As a result of PMC’s breach of one or more express warranties contained in the
Agreement and/or Seller’s Guide, LBHI has sustained actual and consequential damages in an
amount to be proven at trial.

THIRD CLAIM FOR RELIEF
(Breach of Contract—Indemnification Agreement)
38. LBHI incorporates the foregoing allegations as though fully set forth herein.
39. The Indemnification Agreement constitutes a valid and enforceable contract that is

binding upon PMC.

40. PMC has liability under the Indemnification Agreement for Loan Nos, ****8454

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and ****0794 and has agreed to pay certain damages.

41. As a result of the breach of the Indemnification Agreement by PMC, LBHI has

sustained actual and consequential damages in an amount to be proven at trial.
FOURTH CLAIM FOR RELIEF
(Breach of Contract — Specific Performance)

“2. LBHI incorporates the foregoing allegations as though fully set forth herein.

43. PMC has breached the Agreement and Seller’s Guide by: (a) breaching one or
more of its agreements, representations, warranties, and/or covenants; (b) refusing or otherwise
failing to repurchase the subject mortgage loans; and/or (c) refusing to pay LBHI for losses

suffered arising from or relating to the subject mortgage loans.

44. PMC specifically agreed to the remedy of repurchase (if available relating to a
particular mortgage ioan, i.e. prior io sale of the underlying real property following foreclosure).

45. Due to the unique and specific nature of the mortgage loans and the underlying
real property securing the loans, Plaintiff has no adequate remedy at law for redress of PMC’s
breaches and its obligation to repurchase loans that have become Early Payment Defaults.

46. Plaintiff is therefore entitled to an Order of this Court requiring specific

performance by PMC of its repurchase obligations under the Agreement and Seller’s Guide.

RELIEF REQUESTED

WHEREFORE, LBHI respectfully requests that this Court enter judgment in its favor

against PMC as follows:

(a) For all damages and/or losses arising from or relating to PMC’s breach of contract,

in an amount to be proved at trial;

(b) For all damages and/or losses arising from or relating to PMC’s breach of

warranties, in an amount to be proven at trial;

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COMPLAINT |
| Case 2:09-cv-03829-RGK-AJW Document1 Filed 05/29/09 Page 8of13 Page ID #:8

 

 

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5 (c) For all damages and/or losses arising from or relating to PMC’s breach of the
3 Indemnification Agreement, in an amount to be proven at trial;
4 (d) For an Order from this Court directing PMC to repurchase those mortgage loans as
5 set forth on Exhibit A for which repurchase is available;
6 (e) For recoverable interest;
’ (f) For the costs and expenses of suit incurred herein, including, but not limited to,
attorney fees, costs, and expert witness expenses; and,
10 (g) For such other and further relief as this Court deems just and proper.
li  SURYDEMAND
12 Plaintiff demands a trial by jury herein on all issues so triable.
13
14
DATED: May 28, 2009 FOSTER GRAHAM
1S MILSTEIN & CALISHER, LLP
16 |
0 ee istoplier Pea tmeton
18 Julia R. Harvey
19 Attorneys for Plaintiff
50 LEHMAN BROTHERS HOLDINGS, INC.
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COMPLAINT

 

 

 

 

 

 

 

 

 

 

 
. Case 2:09-cv-03829-RGK-AJW Document 1 Filed 05/29/09 Page9of13 Page ID #:9

Lehman Brothers Holdings, Inc., v. PMC Bancorp f/k/a Professional Mortgage Corp.

 

 

 

 

Exhibit A
Loan Number Basis of Claim J
1. RHEE BOO Early Payment Default
2. **EEQ TS Misrepresentation — First Party
Fraud, Income, Employment,

 

 

Occupancy; and any other
discovered breach

 

 

****3.065 Misrepresentation — First Party
Fraud, Income, Employment,
Occupancy; and any other
discovered breach

wa

 

 

 

 

4, EET 7() Misrepresentation — Income,
Employment, Assets; and any
other discovered breach |
193 Misrepresentation — Debts: and |
any other discovered breach

6. FREES BST Misrepresentation —
Occupancy; and any other
discovered breach

7. REEERASA Early Payment Default; and any
other discovered breach
8. *eEEOTOA Misrepresentation — Debts; and
[ any other discovered breach

 

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EXHIBIT A
Case 2:09-cv-03829-RGK-AJW Document1 Filed 05/29/09 Page 100f13 Page ID #:10

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY

This case has been assigned to District Judge R. Gary Klausner and the assigned
discovery Magistrate Judge is Andrew J. Wistrich.

The case number on all documents filed with the Court should read as follows:

CV09- 3829 RGK (AJWx)

Pursuant to General Order 05-07 of the United States District Court for the Central
District of California, the Magistrate Judge has been designated to hear discovery related
motions.

All discovery related motions should be noticed on the calendar of the Magistrate Judge

NOTICE TO COUNSEL

A copy of this notice must be served with the summons and complaint on all defendants (if a removal action is
filed, a copy of this notice must be served on all plaintiffs).

Subsequent documents must be filed at the following location:

[X] Western Division LJ Southern Division LJ] Eastern Division
312 N. Spring St., Rm. G-8 411 West Fourth St., Rm. 1-053 3470 Twelfth St., Rm. 134
Los Angeles, CA 90012 Santa Ana, CA 92701-4516 Riverside, CA 92501

Failure to file at the proper location will result in your documents being returned to you.

 

CV-18 (03/06) NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY
By espe

Case 2:09-cv-03829-RGK-AJW Docume

 

 

REILLY POZNER LLP ss
Michael A. Rollin (SBN: 251557) mee
mrollin@rplaw.com

10833 Wilshire Blvd, Unit 604

Los Angeles, CA 90024

T: (310) 425-0922; F: (303) 893-6110

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

LEHMAN BROTHERS HOLDINGS INC. CASE NUMBER

PLAINTIFF(S)
¥v.

 

PMC BANCORP, f/k/a PROFESSIONAL
MORTGAGE CORP.
SUMMONS

DEFENDANT(S).

 

 

TO:  DEPENDANT(S): PMAC LENDING SERVICES, INC., f/k/a PREFERRED MORTG. ALLIANCE

A lawsuit has been filed against you.

Within 20 _ days after service of this summons on you (not counting the day you received it), you
must serve on the plaintiff an answer to the attached & complaint O amended complaint
(] counterclaim (J cross-claim or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer

or motion must be served on the plaintiff's attorney, Michael A. Rollin , whose address is
10833 Wilshire Blvd, Unit 604, Los Angeles, CA 90024 . If you fail to do so,
judgment by default will be entered against you for the relief demanded in the complaint. You also must file

your answer or motion with the court.

Clerk, U.S. District Court

 

Dated: ~ | By: NATALIE LONGORIA

 

 

 

CV-O1A (12/07) SUMMONS

IQ8/09 Page 11of13 Page ID #41T™. :

 
‘ Case 2:09-cv-03829-RGK-AJW Docufne

] (a) PLAINTIFFS (Check box if you are representing yourself 1)

 

lee 05/29/09 Page 12 0f 13 PageiD #12

UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA

LEHMAN BROTHERS HOLDINGS, INC.

CIVIL COVERS

HEET

DEFENDANTS

PMC BANCORP, f/k/a PROFESSIONAL MORTGAGE CORP.

 

(b) Attorneys (Firm Name, Address and Telephone Number. If you are representing

yourself, provide same.)

Daniel K. Calisher (#181821)
Foster Graham Milstein & Calisher, LLP

621 Seventeenth Street, 19th Floor, Denver, CO 80293 303-333-9810

 

Attorneys (If Known)

 

Ul. BASIS OF JURISDICTION (Place an X in one box only.)

1U.S. Government Plaintiff

02US, Government Defendant 4 Diversity (Indicate Citizenship

03 Federal Question (U.S.

Government Not a Party)

of Parties in Item ITD

IV. ORIGIN (Place an X in one box only.)

wo 1 Original
Proceeding

Appellate Court

Citizen of This State

Citizen of Another S

 

02 Removed from 13 Remanded from (4 Reinstatedor 5 Transferred from another district (specify): (6 Multi-
State Court

Reopened

Citizen or Subject of a Foreign Country 13

HI. CITIZENSHIP OF PRINCIPAL PARTIES - For Diversity Cases Only
(Place an X in one box for plaintiff and one for defendant.)

PTF DEF PTF DEF
O1! 1 Incorporated or Principal Place 14 4
of Business in this State
tate 2 02 Incorporated and Principal Place ws O5

of Business in Another State

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0 Foreign Nation O06 06

O17 Appeal to District
Judge from
Magistrate Judge

District
Litigation

Y. REQUESTED IN COMPLAINT: JURY DEMAND: M Yes CT No (Check ‘Yes’ only if demanded in complaint.)
Cl MONEY DEMANDED IN COMPLAINT: § In excess of $75,000.00

- CLASS ACTION under FR.CP.23: 0 Yes No

Vi. CAUSE OF ACTION (Cite the U.S, Civil Statute under which you are filing and write a brief statement of cause. Do not cite jurisdictional statutes unless diversity.)
28 USC § 1332
VIL NATURE OF SUIT (Place an X in one box only.)

 

  

 

 

 

   
 

  
    

  

 

 
 
 
 

   

  

 

  
      

     
   

  

  
 

   

 

 

 

 

 

 

 

 

 

 

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State Reapportionment {17110 Insurance 4 Fair Labor Standards
0410 Antitrust 120 Marine pe oPR Act
1430 Banks and Banking 130 Miller Act 0315 Airplane Product [3370 Other Fraud Vacate Sentence [720 Labor/Memt.
1450 Commerce/ICC (2140 Negotiable Instrument Liability — £2371 Truth in Lending Habeas Corpus Relations
Rates/etc. 0150 Recovery of 320 Assault, Libel & 1380 Other Personal {C530 General (1730 Labor/Mgmt.
[1460 Deportation Overpayment & an Slander . Property Damage [1535 Death Penalty Reporting &
470 Racketeer Influenced Enforcement of 0330 Fed. Employers Mandamus/ Disclosure Act
and Corrupt Judgment 340 Mabilty Other (3740 Railway Labor Act
Organizations (151 Medicare Act o 3 45 Marine Product Civil Rights 0790 Other Labor
480 Consumer Credit 0 152 Recovery of Defaulted Liability Prison Conditio Litigation
[1490 Cable/Sat TV Student Loan (Excl. [1350 Motor Vehicle 01791 Empl. Ret. Inc.
0 810 Selective Service Veterans) 355 Motor Vehicle Withdrawal 28 E Security Act
(850 Securities/Commodities/|T 153 Recovery of Product Liability “|... USC 157 griculture
Exchange Overpayment of 1360 Other Personal ae £1620 OtherFood&  |[7820 Copyrights
(1875 Customer Challenge 12 Veteran’s Benefits Injury C441 Voting Drug 01830 Patent
USC 3410 [160 Stockholders’ Suits (3362 Personal Injury. {4442 Employment £1625 Drug Related (1 840 Trademark
© 890 Other Statutory Actions w 190 Other Contract Med Malpractice {[1 443 Housing/Acco- Seizure of De
891 Agricultural Act (1195 Contract Product 1365 Personal Injury- mmodations Property 21 USC JO 861 HIA (1395ff)
0 892 Economic Stabilization Liability Product Liability 0444 Welfare 881 0 862 Black Lung (923)
Act () 196 Franchise (1368 Asbestos Personal j[1445 American with {01630 Liquor Laws 0 863 DIWC/DIWW
(1893 Environmental Matters | RES co Injury Product Disabilities - 10640 RR. & Truck (405(g))
(1 894 Energy Allocation Act {11210 Land Condemnation Employment (7650 Airline Regs £1864 SSID Title XVI
(1895 Freedom of Info. Act [1220 Foreclosure {1446 American with [660 Occupational _RSI (405(g)
1900 Appeal of Fee Determi- [0 230 Rent Lease & Ejectment Disabilities - Safety /Health RAL TAS -
nation Under Equal 240 Torts to Land Application Other £1690 Other axes (U.S. Plaintiff
Access to Justice 245 Tort Product Liability {0463 Habeas Corpus- Ir} 440 Other Civil or Defendant)
(1950 Constitutionatity of (2290 All Other Real Property Ahen Detainee Rights (3871 IRS-Third Party 26
State Statutes 0465 other Immigration USC 7609
10:
FOR OFFICE USE ONLY: — Case Number: PUG. FZOodG
AFTER COMPLETING THE FRONT stbB%Or FORM evn, confor eteorne INFORMATION REQUESTED BELOW.
CV-71 (05/08) CIVIL COVER SHEET Page | of 2
‘Case 2:09-cv-03829-RGK-AJW Document 1 Filed 05/29/09 Page 13 0f13 Page ID #:13

UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
CIVIL COVER SHEET

VUl(a}. IDENTICAL CASES: Has this action been previously filed in this court and dismissed, remanded or closed? &/No D Yes

If yes, list case number(s):

 

VHK(b). RELATED CASES: Have any cases been previously filed in this court that are related to the present case? w) No (Yes
If yes, list case number(s):

Civil cases are deemed related if a previously filed case and the present case:
(Check all boxes that apply) A. Arise from the same or closely related transactions, happenings, or events: or
(1B. Call for determination of the same or substantially related or similar questions of law and fact: or

CC. For other reasons would entail substantial duplication of labor if heard by different judges: or
(1D. Involve the same patent, trademark or copyright, and one of the factors identified above in a, b or ¢ also is present,

IX. VENUE: (When completing the following information, use an additional sheet if necessary.)

(a) List the County in this District; California County outside of this District; State if other than Califomia; or Foreign Country, in which EACH named plaintiff resides.
fj __ Check here if the government, its agencies or employees is a named plaintiff, If this box is checked, go to item (b). .
California County outside of this District; State, if other than California: or Foreign Country

 

County in this District:*

 

Lehman Brothers Holdings, Inc. - New York and Delaware

 

 

 

 

(b) List the County in this District; California County outside of this District; State if other than California; or Foreign Country, in which EACH named defendant resides.
O__Check here if the government, its agencies or employees is a named defendant. If this box is checked, go to item (c).
California County outside of this District; State, if other than California; or Foreign Country

 

County in this District:*

 

PMC Bankcorp f/k/a Professional Mortgage Corp. - Los Angeles County

 

 

 

 

(c) List the County in this District; California County outside of this District, State if other than Califomia; or Foreign Country, in which EACH claim arose.

Note: In land condemnation cases, use the location of the tract of land involved.
California County outside of this District; State, if other than California: or Foreign Country

 

County in this District:*

 

Los Angeles County

 

 

 

 

* Los Angeles, Orange, San Bernardino, Riverside, Ventura, Santa Barbara, or San Luis Obispo Counties
Note: In land condemnation cases, use the location of the tract of land involved :

Notice to Counsel/Parties: The CV-71 (JS-44) Civil Cover Sheétafid the information contained herein neither replace nor supplement the filing and service of pleadings
or other papers as required by law. This form, approved by the Judicial Conference of the United States in September 1974, is required pursuant to Local Rule 3-1 is not filed
but is used by the Clerk of the Court for the purpose of statistics, venue and initiating the civil docket sheet. (For more detailed instructions, see separate instructions sheet.)

    

E¥0ate May 28, 2009

    
 

X. SIGNATURE OF ATTORNEY (OR PRO PER!

Key to Statistical codes relating to Social Security Cases:
Nature of Suit Code Abbreviation Substantive Statement of Cause of Action

861 HIA All claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended,
Also, include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the

program. (42 U.S.C. 1935FF(b))
All claims for “Black Lung” benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969.

862 BL
(30 U.S.C, 923)

863 DIWC All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as
amended, plus all claims filed for child’s insurance benefits based on disability. (42 U.S.C. 405(g))

863 DIWW All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security
Act, as amended. (42 U.S.C, 405(g))

864 SSID All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security
Act, as amended. a

865 RSI All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended. (42

USC. (g))

 

CV-7} (05/08) CIVIL COVER SHEET Page 2 of 2
